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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No.        CV 20-11181 CAS(JPRx)                                       Date: December 12, 2022
  Title      NEMAN BROTHERS AND ASSOCIATES, INC. v. INTERFOCUS, INC. DBA
             WWW.PATPAT.COM; ET AL. [AND RELATED COUNTERCLAIM]




  Present: The Honorable:      CHRISTINA A. SNYDER, U.S. DISTRICT JUDGE


                     Kevin Reddick                                         Laura Elias
                     Deputy Clerk                                   Court Reporter / Recorder

          Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                   Chan Jeong                                           Mark Lee


  Proceedings: FURTHER HEARING ON MOTION FOR SUMMARY JUDGMENT ON
  COPYRIGHT INFRINGEMENT CLAIMS IN PLTF’S COMPLAINT; PARTIAL SUMMARY
  JUDGMENT ON COUNTERCLAIM [35]; MOTION FOR SUMMARY JUDGMENT OR
  ADJUDICATION [41]; MOTION FOR SUMMARY JUDGMENT ON COPYRIGHT
  REGISTRATION INVALIDITY [68]

  Hearing held by Zoom and counsel are present. Counsel make arguments on the motions as
  stated on the record. The Court takes the matters under submission.




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                                                                      Initials of Preparer   CKR


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